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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


Peakspeed, Inc.,                                    Civil File No. 0:20-cv-01630-JRT-BRT

                      Plaintiff,               DECLARATION OF JOE GRESHIK IN
                                                   SUPPORT OF PLAINTIFF’S
v.                                               OPPOSITION TO DEFENDANT’S
                                                     MOTION TO DISMISS
Timothy Emerson,

                      Defendant.



I, Joe Greshik, state as follows:

       1.       I am employed by Plaintiff Peakspeed, Inc. (“Peakspeed”) as a core

developer. I submit this Declaration in support of Peakspeed’s Opposition to

Defendant’s Motion to Dismiss. I have personal knowledge of the matters set forth in

this Declaration, and if called to testify in this case I would and could competently testify

as to such matters.

       2.       I started working for EmersonAI as an independent contractor in late 2019;

however, my tenure with that company ended when I started working for Peakspeed. I

do not have any oral or written agreements with EmersonAI.

       3.       I have worked remotely for Peakspeed since January 2020.

       4.       All of my work since starting with Peakspeed has been for Peakspeed.

None of my work has been for EmersonAI.
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       5.       I understood that Dave Eaton (“Dave”) was the Chief Executive Officer of

Peakspeed and that Tim Emerson was the Chief Technical Officer. Dave was in charge

and everyone worked for Dave.

       6.       My salary is direct deposited to me. Dave Eaton pays my salary; and he

has told me he has financed a vast majority of Peakspeed’s expenses. He also purchased

my work laptop.

       I declare under penalty of perjury under the laws of the United States of America

and the State of Colorado that the foregoing is true and correct.




Dated: October 1, 2020                        By: /s/ Joe Greshik
                                                  Joe Greshik




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